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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DADE DIVISION
CASE NO,
BRANDAN BRIDGEFORTH,

Plaintiff,
VS.
BPCL MANAGEMENT, LLC d/b/a
BAHAMAS CRUISE LINE, LLC
a Florida Limited Liability Company

Defendant.
/

COMPLAINT FOR DAMAGES
COMES NOW, the Plaintiff, BRANDAN BRIDGEFORTH, by and through his undersigned
attorney, hereby sues the Defendant, BPCL MANAGEMENT, LLC, d/b/a BAHAMAS
PARADISE CRUISE LINE, LLC. and alleges that:

1. This is an action for damages in excess of Fifteen Thousand ($15,000.00) Dollars
exclusive of costs and interest.

2. At all times material hereto, Plaintiff, BRANDAN BRIDGEFORTH, was a resident
of Broward County, Florida and otherwise sui Juris.

a, At all times material hereto, Defendant, BPCL MANAGEMENT, LLC, d/b/a
BAHAMAS PARADISE CRUISE LINE, LLC., hereinafter is a Florida Corporation doing business
in the State of Florida and is subject to the jurisdiction and venue of this Court and may be served
with Summons and Process, Daniel Lambert, 100 W. Cypress Creek Rd. Suite 640, Fort
Lauderdale, FL 33309 is otherwise sui Juris.

4. That all conditions precedent have been exhausted and therefore complied with.
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5, That on or about March 23, 2011, Plaintiff, BRANDAN BRIDGEFORTH, was
lawfully on the above-described premises as a customer and business invitee.

6. That on or about March 14, 2019, from the main floor to his cabin the Plaintiff,
BRANDAN BRIDGEFORTH, was walking up the staircase when his foot slipped due to the
stair/tread (surface where foot steps on stairs) missing the piece of rubber/plastic edging. The
rubber/plastic edging was missing on the tread where the Plaintiff's foot slipped but present on
all other tread on Defendant, BPCL MANAGEMENT, LLC, subject premises.

7. That on or about March 14, 2019, the Defendant, BPCL MANAGEMENT, LLC,
owed a duty to the Plaintiff, BRANDAN BRIDGEFORTH, herein to exercise reasonable care and
maintain the premises in a safe condition.

8. That at the above-described time and place, the Defendant, BPCL
MANAGEMENT, LLC, by and through its agents and/or employees breached the above-described

duty by negligence:

a. Failing to maintain its premises in a safe condition;
b. Failing to post warning signs regarding a dangerous condition;
Bs Failing to mark the subject area where the Plaintiff's injury occurred so that

it is obvious to its customers, passengers and business invitees;

d. Failing to prevent the Plaintiff, BRANDAN BRIDGEFORTH, from being
exposed to the dangerous condition as it then existed:

é. Failed to properly inspect the area where the Plaintiff was caused to fall as a
result of not replacing the rubber/plastic edging on the stair tread.

i Failed to otherwise exercise the degree of care with respect to matters

alleged in this complaint;
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g. Failing to maintain the stairs that consumers, passengers and invitees use to
traverse from one area of the premises to another area of the premises in a
reasonably safe condition;

h. Otherwise being negligent;

8. That the dangerous condition was known to the Defendant, BPCL
MANAGEMENT, LLC, its agents, and/or employees or had existed for a sufficient length of time
so that the Defendant, in exercising ordinary and reasonable care, should have known of it.

10. That as a direct and proximate result of the negligence of the Defendant, the
Plaintiff, BRANDAN BRIDGEFORTH , suffered bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn
money and aggravation of a previously existing condition. The losses are either permanent or
continuing in nature, and Plaintiff, BRANDAN BRIDGEFORTH, will suffer the losses in the
future.

WHEREFORE, Plaintiff, BRANDAN BRIDGEFORTH, demands judgment for damages
against the Defendant, BPCL MANAGEMENT, LLC plus costs of this action and any other relief
this Honorable Court deems just and proper. Plaintiff further demands a trial by jury of all issues
triable as a matter of right.

Dated this F day of Starch »20HO
Respectfully submitted,
PAUL E. SUSS, P.A.
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By: J
PAUL ¥. SUSS
Florida Bar No. 796212
